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                              UNITED STATES DISTRICT COURT

                                       DISTRICT OF MAINE

TOWN OF BOWDOINHAM, and                               )
TOWN OF BOWDOINHAM                                    )
EMPLOYEES AND OFFICIALS,                              )
                                                      )
                      Plaintiffs,                     )       2:24-cv-00451-SDN
                                                      )
v.                                                    )
                                                      )
SCOTT A. GALLANT,                                     )
                                                      )
                      Defendant.                      )

                  ORDER AFFIRMING RECOMMENDED DECISION
                         OF THE MAGISTRATE JUDGE

        Scott A. Gallant, proceeding pro se, sued the Town of Bowdoinham and its

employees on December 23, 2024.1 ECF No. 1. On January 2, 2025, Magistrate Judge

Wolf denied Mr. Gallant’s request to proceed without prepayment of fees and costs and

ordered Mr. Gallant to pay the filing fee by January 16, 2025. ECF No. 6. Magistrate Judge

Wolf warned Mr. Gallant his case would be dismissed if he failed to pay on time. When

Mr. Gallant did not pay by January 16, 2025, Magistrate Judge Wolf recommended the

Court dismiss the action. ECF No. 7. Magistrate Judge Wolf notified the parties that

failure to object to the recommended dismissal would waive their right to de novo review

and appeal.

        The time to file objections to the recommended decision expired on January 31,

2025, and no objections have been filed. I have reviewed and considered the

recommended decision, together with the entire record; I have made a de novo




1 Mr. Gallant identifies himself as the Defendant rather than as the Plaintiff. To be clear, Mr. Gallant—not
the Town of Bowdoinham—instituted this action.
                                                     1
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determination of all matters adjudicated by the recommended decision; and I concur with

Magistrate Judge Wolf’s recommended dismissal for the reasons set forth therein.

      It is therefore ORDERED that the recommended dismissal of the Magistrate

Judge, ECF No. 7, is hereby AFFIRMED and ADOPTED. The case is DISMISSED without

prejudice.

      SO ORDERED.

      Dated this 21st day of February, 2025.


                                               /s/ Stacey D. Neumann
                                               U.S. DISTRICT JUDGE




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